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EXHIBIT G

 
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o0005
l THE DEPOSITION OF SCOTT MINNICH, Ph.D.

2 was taken on behalf of the Plaintiffs on this, the

3 26th day of May 2005, at University of Idaho, Life

4 Sctences Building. Room 144, Moscow, Idaho. before
5 M&M Court Reponing Service, Inc . by Nett Cooley.
6 Court Reporter and Notary Public within and for the

7 State of Idaho, to be used in an action pending in

8 the United States Disinct Coun for the Middle

9 District of Pennsylvamia, said cause being Civil

10 Action No. 4-(04-CV-2688 in said court.

i THEREUPON, the following proccedings were

12. adduced. to war:

 

7 EXAMINATIO™

18 QUESTIONS BY MR LUCHENITSER.

19 Q. Dr Minnich, could you please state your
20 name for the record?

2 A Scott Anhur Minnich

22 Q > And have you had your deposition taken
23 before?

24 A Never.

25 Q_ I'm qust going to give you some standard

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00006
L instructions. Please answer all the questions

2 orally. Please don't nod your head or say uh-huh or
2 huh-uh, because then the court reporter won't be

4 able to take down your answer accurately.

5 If you do not hear a question or don't

6 understand a question, please tell me. Please wait
7 until | have finished asking my question before you
8 begin your answer And if'you realize thal an

9 carlicr answer you gave was inaccurate or

10 incomplete, please say thal you would like to

It correct a former answer and [will give an

12 opportunity to do so.

43 And if your attomey objects (0 onc of my
14 questions. you arc still required to answer the

15 question unlcss your attomey instructs you not (0
16 answer

7 And do you understand the instructions |
18 have given you?

9 A. Ido

20 Q. And do you understand that you under oath
21 and are required to tell the truth?

22 Q Ido.

23 Q_ Isatcorrect that you are serving as an

24 expert (or the defendants m this case?

35 A. Yes

Scott Minnich 5/26/05 Page 6

00007
U Q Lei me pull cut your expert report. and

2 we are going to mark that as Exhibit }

3 (Deposition Exhibit No | marked for

+ identification )

5 BY MR. LUCHENITSER:

6 Q_> We have marked as Exhibit | the expert
7 report of Scott Minnich And if you could flip to
8 Exhibit A to Extubit |, which ts the biographical
9 sketch i the back, please, docs that Exhibit A
10 correctly reflect your educational and employment
UL history?

12 A. It does

13 Q And is everything in there still correct
44 or current or has something changed since you

15 submitted it?

16 A. No. st is sult current

7 9
18

9

    

20
21 OFT une record 9
22 MR LUCHENITSER. Back on the record.

23: BY MR. LUCHENITSER:

 

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g0008
2 Q. And can you Lell me what the principal

3 opinions you have in this case are?

4 A. That intelligent design is a viable

5 scientific theory.

6 Q. Anything clsc?

7 A. No, [ mean in terms of my expertise in

8 this case. you know, it is whether or not

3 intelligent design is 9 competing theory in part to
10. the current consensus in biology

ul Q. When you say intelligent design ts 4

2 viable scientific theory. can you explain what you
13 mean by viabie?

l4 A. In other words. it is looking at the

15. public evidence and interpreting that cvidence in
1G the sense that the design we sec in nature 1s real

17 design, not just apparent design, which most of my
18 colleagues hold the latter view

9 Q. Uh-huh, so when you use the word viable,
20 do you mean 1t is real?

21 A. It's real, it's real, okay? Itis

22 sevence, st ts not a religious position. It has

23 metaphysical implications, like evolution docs. but
24 that 1s incidental, secondary to its explanatory

25° power when we lock at the facts and expenences that

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00009
1 we see in the natural world.

2 Q. What are the metaphysical implications

3 that intelligent design has?

4 A. That there is design behind it, that

5 there is an intelligence in part responsible for

6 what we sec.

7 Q. And let me ask you, why do you use the

8 word metaphysical?

9 A. Well, itis philosophical, metaphysical.
10 [ mean, in that realm it doesn't require a religious
11 position, you know? It can be more of ~ a person
12. can hold the view of intelligent design as being
13 real and believe in the God of Espinoza or Einstein,
14 the God of the philosophers, not of a traditional
15. God that we think of in the context of traditional
16 religions

i7 Q. Does your report identify all the subject
18 matter that you are going to testify about at trial?
19 MR. WHITE: I have to object because |
20 couldn't hear you.

21 BY MR. LUCHENITSER:

22 Q. I'm sorry, does your expert report

23 identify all the subject matter that you will

24 testify about at trial?

25 A. That's an absolute statement, and being a

Scott Minnich 5/26/05 Page 9

00010
1 scientist | always hesitate. But this is ~ in

2 terms of my own research and training, it is

3 reflected in this report.

4 Q. Do you intend to express any opinions in

5 this case that have not been included in your

6 report?

7 A. Ifiam asked a question that is not

8 directly applicable to this report, I may choose to

9 respond or not if | have knowledge in the area. No,
10 this isn't a complete tome of all the knowledge that
il Thave.

12 Q. Do you have any plans to supplement your
13 report in any way?

i4 A. No, not at present.

1s Q. Do you consider yourself an expert on any
16 issues relevant to this case?

17 A As they bring to bear on examples that

18 are being disputed by both camps, you know, the area
19 of irreducible complexity of the bacterial

20 flagellum, molecular machines, genetics,

21 microbiology.

22 Q. What is — do you have an area of
23 speciaity within the discipline of biology?

24 A. 1do, Lama microbial geneticist focused

25 on an area we refer to as microbial pathogenesis,

Scott Minnich 5/26/05 Page 10

00011
1 organisms that cause disease.

2 Q. Has that area been the focus of your

3. professional research?

4 A Yes.

5 MR. WHITE: Object as far as what time

6 frame you are talking about for his professionat

7 research.

8 THE WITNESS: Ycs, currently. i have had
9 other experiences, too. | have been in diagnostics,
10 [have been in developmental biology, and -- I'm

U1 trying to think in terms of just how you quoted

12 this, basic molecular biology, molecular genetics.
43 Asan example, the controversy about

14 genetically engineered foods and BT toxins. 1 don't
15 know whether you are familiar with this at afl,

16 bacillus thuringiensis toxin. This has been

17 incorporated into agricultural plants and has been
18 controversial because of the ethical concerns about
49 introducing or modifying plant genomes.

20 But that bacillus toxin gene ! cloned as

21 a post-doc, and we gave it to Monsanto 20 years ago.
22 So occasionally [ am called to - in

23 fact, four or five years ago [ had my research

24 notebooks subpoenaed because of a patent lawsuit
25 involved in who owned the rights to that. That was

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00012
1 between Monsanto and some other company in terms of

2 who had the right to that gene

3 Q. Would you consider yourself an expert in

4 evolutionary biology?

3 A. That's a difficult question and | want to

6 qualify it, because I was challenged here at the

7 University of Idaho several years ago when Robert
8 Pennock came and gave a seminar. And he knew my
9 position and he challenged me in the audience with
10 respect to, “How can you, as a practicing

LL contributing scientist, hold the position that is

12 contrary to the very foundation of your discipline?*
13 Okay? This is in front of all of my colleagues and
14 students in a formal departmental seminar.

15 And L responded that, “That's an

16 interesting question, and now that you have raised
17 it, 'm sure a lot of people are interested in my

18 response.”

19 What | find interesting in my own

20 experience, and that of colleagues in this

21 department -- and we are the most highly funded and
22 1 think the most successful in getting extramural

23 funding, publication in peer-reviewed journals, we
24 have several new faculty so | don't want to make an

25 absolute statement, but, you know, the past couple

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00033
1 intelligent design that are different from the

2 definition you gave in your report?

3 A Jthink my wniten statement is

4 consistent with my colleagues in terms of -- you
5 know, [ think there are philosophers of science in
6 the entelligence design arcna that are morc

7 articulate in terms of the philosophical

8 implications of this.

9 Q. How would you define creationism?

10 A. Creatiomsm, which | think is very

Tt different than intelligent design. uses biblical

12 reference by which you judge science In the

13 traditional sense, scientific creationism held to a
14 Interal interpretation of Genesis and thought that
15. that was an cmbodiment of wuth and that science
16 should be filtered through that viewpoint,

17 1 disagrce with that stand In fact, 1

18 was never an active participant in scientific

19 creatronssm as it went through the Louisiana and
20 Arkansas debates, | thought it was out of balance.
21 Q. Is there a difference between creation

22. science and creationism?

23 A. Well, un terms of definitions, yes, |

24 think iis subtle. Creationasm. again { think in

25 the traditional sense as 1 is used in the public

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00034
1 arena, implies a htcral mterpretation of Genesis.

2 Sctentefie creationism then tries to look at the

3 body of scienufic understanding and fit 1t

-

consistently with that viewpoint of biblical

wa

interpretation.

6 Q._ Is teaching of crcationism or creation

~

scicnce -- 15 the tcaching of that, that forms of

8 life began abruptly — begin abruptly in their basic
9 types. for example, fish with fins and scales, birds
10 with feathers and beaks and wings”

i A That's -- repeat the question because f

12 want to make sure | understand 11

   

1a Q  Whatis the difference bet cen
20 intclligent design theory and creation serene?

21 A Intelligent design theory isn’t dependent
22 upon any formal religious writing or revelation in
23. which you are uying to match the natural world to
24 show consistency. It 1s simply looking al the

25 science and asking the question Is the design that

Scott Minnich 5/26/05 Page 34

00035
1 we all agrce is there real or apparent? Okay? It

2 18 a valid question and | think we should be

3 addressing it at a scientific level in our

4 inquirics

5 Tits that simple, okay? [t doesn't have

6 any basis of going further than looking or devising
7 theones or hypotheses to look at how you detect

8 design Our record of life on this planet, docs it

9 Git with an intelligent agent of, again, 1s natural

10 law, in terms of physics and chemistry, of what we
Lt know of genctics, sufficient to produce the

12. diversity that we see in life?

3 And you end right there, yes or no. It

14 15 an interesting question, it is a valid question.

15 and it should be addressed. | mean, and that's why
16 we are here, you know? That's what Ken Miller is
17 writing about, Robert Pennock, he is asking the
18 question, can natural law come up with de novo
19 information?

20 Q. Does sntelligent design theory reach any
21 conclusions that are different from the conclusions
22 reached by creation science?

2 MR. WHITE Objection as to vagueness,
24 ambigulty.

25 BY MR. LUCHENITSER:

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00036
{ Q You can go ahead and answer

2 MR. WHITE: Ifyou understand the

3 question

4 THE WITNESS. Repeat it one more time, or
§ let me ask a question to make sure | understand it.

6 Does creation science and intelligent

7 design both come to the samc conclusion, 1s that

8 what you are asking?

9 BY MR. LUCHENITSER:

10 Q. Let just ask the question, docs

LL intelligent design theory reach any conclusions that
12 ase different from the conclusions reached by

13 creation scicnec?

14 A. Oh, for sure

5 Q. What are the differences? What different
16 conclusions does -- what conclusions docs

17 intelligent design theory reach that arc —

18 A. Well, creation science, I think, 1s

19 realty an arcs of apologetics, religious

20 apologetics. They want the science to validate the
21 seriptural content of Genesis, okay? And

22 intetbigent design isn't going to go that far You

23. can say that -- looking at the data, what we know in
24 terms of chemistry and physics, gencuics and natura!

25 selection, that there is a real design, and you stop

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00037
1 there.

2 Q. Can you tell me what theistic evolution

3 is?

4 A. Theistic evolution is the position, as 1

5 understand it, that there is a designer or creator

6 that designed the universe, started the clock going,
7 designed the laws of physics and chemistry, and that
8 life, through those laws, emerged and has evolved.
9 But it is more of an impersonal activity. In other
10 words, the machine was started and is removed from
11 that machine, so that organisms do evolve in terms
12 of our common consensus.

13 Q_ Can someone who believes in theistic

14 evolution also believe that God in some way guides
15. the progress of evolution?

16 A. Sure, [ mean [ think you have the entire

17 spectrum of people that believe in a designer or

18 creator in terms of his participation in the world

19 as we know it

20 Q. What is the difference between theistic

21 evolution and intelligent design theory?

22 A. Theistic evolutionists, I think, agree

23 that given, for instance, the planet earth in its

24 early stages of development had incorporated in it

25 all the necessary components for the emergence of

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00038
i life and its subsequent diversity, that there is nO

2 input from the designer from that point, okay?
3 So it is really consistent with the
4 Darwinian viewpoint that you just started it by an
5 intelligent agent or God and then everything
unfolds.

Intelligent design sees a more active
part of a designer from the sense that from my own
perspective I look at the bacterial flagellum, it
10 has stators and rotors and propellers and u-joints,
11 it is battery powered, it looks like engines that
{2 Mazda makes, in one sense, but it is much more
13 sophisticated because there is an algorithm or
14 program that directs its assembly from genctic
15 information and it regulates the timing of synthesis
16 and the position where it is assernbled, that that is
17 a product of intelligence.
18 And from my position you don't get these
19 machines by totally natural process. 1 mean, they
20 can change and evolve, [ don't know at what level or
21. to what extent, but the prototypic or aboriginal
22 machine has all the hallmarks of design based on our
23 experience of machines that we manufacture.
24 Q. Other than the ultimate claim that a

25 designer or designers were responsible for the

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00039
1 development of life forms on the planet earth, docs

2 intelligent design make any other scientific claims?
3 MR. WHITE: Objection, it is mistcading.
4 THE WITNESS: I'm not quite sure what you
5 mean in terms of other scientific claims. Give me
6 an example. You know, is it going to tell me that
7 butter is better for me than margarine? 1 mean —
8 BY MR LUCHENITSER:

9 Q. [guess let me wy to see if | can

10 rephrase it.

iM ‘What is the scientific content of an

12 intelligent designer, other than the ultimate

13 assertion that there is a designer or designers?

14 A. That's the main principle, okay?

15 Q. Is there anything else?

16 AE would have to think about it in terms

17 of the question. So if we proceed, I will come back
18 $0 that.

19 Q. Do you have an opinion, a personal

20 opinion, as to who or what the intelligent designer
21 is?

22 MR. WHITE: Objection as to are you

23 asking for his personal opinion or his opinion as a
24 scientist?

25 BY MR. LUCHENITSER:

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00040
t Q. De you have a scientific opinion as to

2 who the intelligent designer is?

3 A. No.

4 Q. Do you have a personal opinion?

5 A. Yes, ldo.

6 Q. You do. What is your personal opinion?

7 MR. WHITE: Objection as to relevancy.
8 Go ahead.
9 THE WITNESS: I want to make sure that

10 this is — I mean, { have a problem in terms of

11 giving my opinion, but my experience, when asked
12. these questions, is that they are somewhat loaded.

13. In other words, in my discussion with Robert Pennock
14 when he was here and we were discussing type IIT

15 secretory systems and the flagelium, claims of

16 intelligent design, he then tumed on me in this

17 public audience and said, “Who is the creator?"

18 And I said, "Well, I have an opinion, but

19 we are talking science, why do you want to bring

20 religion into the question?”

21 No, “Who is the creator? Tell us who the
22 creator is?”
23 And in part I think there is an attempt

24 to marginalize people in this arca as
25 fundamentalists, you know, Christians that want to

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9041
1 get the bible back into the classroom, and that's

2 anvalid. But | ama Christan, that's my personal

3 faith

4 And [ also would like to state for the

5 record that that is not my family's faith tradition

6 Iwas an agnostic, probably an atheist, and when |
7 took a course in biology and was confronted with the
8 design in the bacteriophage Landa, it made me pause
9 and think, is this the product of chance and

10 necessity?

i Okay, so 1 am a Chnstian because of the

12 data, not despite it.

13 Q. So this expenence led you to become a

14 Christian?

15 MR WHITE: Objection as of “this

16 experience.”

17 BY MR. LUCHENITSER.

8 Q. The experience when you were studying
19 this life form?

20 A. No, | think it was a factor, you know, in
21 my own personal journcy, bul { had no reason to --
22. al the pomt until | started taking biology classes
23 — in fact, | was an English hustory major that took
24 a general chemistry course that had a molecular

25 biology component and was so fascinated by the

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0042
information that | changed my major, because was

woe

interested in the science, the beauty of the

w

science. and the more I studied, st had

=

implications.

5 Q. This is when you were an undergraduate,
G did you say?

7) A Right

 

12 Q. Is there a consensus within intelligent

13 design theory as io who the designer 1s or what it
14 1s?

15 A No

16 Q Does intelligent design theory make any
17 claims as to who or what the designer 1s?

18 A. No, ina formal sense it doesn’t. It

19 says you can infer design and therefore designer,
20 but that’s as (ar as the scicnce gocs.

21 Q__ Does intelligent design theory cule out
22 any type of possible designers?

23 Q. Not necessarily

24 Q. Docs intelligent design theory rule out

w
ow

all possible and natural actors as designers?

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00043
i A. Natural what? 1 didn’t hear your —

2 Q_ Natural actors

3 A, Natural actors?

4 Q Yes.

5 MR. WHITE: Objection, vague, ambiguous.
6 What do you mean by natural actors?

7 BY MR. LUCHENITSER:

8 Q. Under intelligent design theory, is it

9 possible that space aliens could be the designers?
jo MR. WHITE. | didn't hear what you said,
11 under wha?

12 BY MR. LUCHENITSER:

13 Q. Under intelligent design theory. is it

14 possible that space aliens could be the designers?
1s A. Sure.

16 Q. Is it possible that time traveling humans
17 could be designers?

18 A. fdon't know. { mean, that's

3

speculation. [ don't know. I mean, that's asking
20 me lo speculate on ume travel, which is a

21 hypothetical situation, and so | don't think itis

22. really pertinent to my contribution of expertise.

23 Q. Has any work been dene within intelligent
24. design theory relating to the issuc of who the

25 designer is?

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o00d4
U A, Not to my knowledge

2 Q. Does intelligent design theory hold that

3 there ts only one designer or is it ~ can it be

4 consistent with intelligent design theory that there
5 might be multiple designers?

6 A. No, I mcan — again, you can just infer

7 design from the public evidence and, you know — I
& mean, we have multiple engincers that work in

9 consortia 10 produce machines today, who is to say
10 it ts not true in the biological world? [don't

IL know

12 Q. And under intelligent design theory, ts

13 1 possible that the designers are — that there

14 might be multiple compeung designers”

45 A. don't know I don’t know what you mean
16 by in terms of competing designers.

\7 Q As opposed to designers who are working
18 together with each other, designers who arc trying
19 to come up with life forms that end up competing or
20 opposing cach other?

21 MR WHITE Otycction, calls for

22. speculation.

23 BY MR. LUCHENITSER:

24 Q Is that possible under your theory?

25 A. Yes, I mean, that's speculative, and I

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00069 00071

| relanionstup, but there are differences between 20

2 10.30 percent novel DNA in all these major groups of
3 bactena. The question arises, where does that

4 novelty come in

5 Q. So does intelligent design theory contain

6 any conclusions or assertions other than that

7 neo-Danwinian theory doesn't adequately explain the

*

development of life on earth and that an intelligent

.

designer is responsible for the development of the

0 hfe on carth?

I A. Yes, { mean that's the basic principle.

.

13 that -- you know, my professional opinion.

13. natural selection, ume. laws of chemistry and

14. physics are inadequate to explain life as we know

15 1. thas all the hallmarks of design

16 You look at the genetic code, it is the

17 most sophisticated information storage systcm in the
18 universe as digital readout. If it is truly an

19 arbitrary code, then there ts no reason why uiplets
20 for cach ano acid have that specific designation,
21. yet recent computer analysis shows that it is the

22 optimum code of all potential theoretical codes that

n
a

would be formed by random chance to negate the
24 effect of point mutstions, which I find astounding

25 Of the millions of combinations of

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00070
triplets, you know, for the cntire 20 amino acids

w

that it is coding for. we find. by empincal

we

analysis. that the genetic code is optmized to

=

minimize the effects of base changes in that code,

5 Now, that causes me to pause and wonder

a

[i causes my colleagues to pause and wonder how 1s

~

nature so lucky on random chance? You know, that

we

this frozen accident, Francis Crick refers to st as

.

the genetic code, is mind boggling. So --

1 Q Ub-huh Let me just go back, though.

W Do you have a scientific opinion on

12 whether anything above complex molecular systems
13 were designed? By that ! mean, do you have a

14 scientific opinion as to whether any complex animal
15. species were designed as opposed to just the

16 microscopic complex biological systems?

7 A No, no. Agamn, it goes back to this

18 question of where ts the designer intervening in

19. thus process? And, you know, | don't know [ mean,
20 that’s speculation

21 Q Is there any kind of consensus in the

22 imelligent design on that issue?

23 A. You have people from the cnure spectrum
24 from theistic evolutionists all the way up to

25 six-day ercauonists, It is a pretty broad tent in

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L terms of pcopic that ascnbc to iniciligent desigr

   
   

23 MR. WHITE: Obyccuion, speculation, lack
24 of relevancy.

25 THE WITNESS:

 

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00072, 5

 

2 BY MR. LUCHENITSER-

3 Q Again, I'll give another hypothetical.

4 If students in the Dover School District were taught
5 that the carth's history can compress into a

6 fearmework of several thousand ycars, would they be
7 musled about scientific knowledge?

8 A. It's inconsistent with the present body

9 interpretation, okay?

10 Q What is your belief on about how long ago
11 life first appeared on carth?

12 A. Well, from the fossil record you have

13 fossil bacteria that appear at 3.8 billion ycars,

14 somewhere around that time period.

5 Q. And what is your opinion on how long ago
16 the first muiti-cellular arumals on carth appeared?
17 A. Pmaota paleontologist. | don't know

18 syhat the ume frame is, but it's a significant

19 penod afterwards from the first appearance of

20. prokaryotcs.

21 Q. Do you have any opinion or knowledge as
22 to how long ago the first land dwelling animals

23 appeared on carth?

24 A Agatn, that's changed. from my

25. expenence, over time, 0 | don't -- | don't fix a

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00073
1 specific time penod Again. it's not my area of

2 expertise

3 Q. Do you know what the consensus 1s in the
4 ficld of palcontology on that?

5 A. Thave read it, but I don’t recat a

6 specific number, but I don't have any problem with
7 it

8 Q. Would 450 millon years ago sound nght?
9 A. Sure.

ia Q. You don't have any reason to disagree

11 with that consensus”

12 A. No

13 MR. WHITE: fll object to this line of

14 questioning. He said this 1s all outside of his

15 area of capertisc.

 

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5 4) T think before we talked a little bit

G about the concept of a common ancesuy of common

7 decent. and let me try to define common ancestry oF

¥ decent as not necessanly that life descended from

9 one cell that appeared three or four billion years

10 ago, but that all life today developed from onc or 6
11 few microorganisms that existed several billion

12 years ago So let's put aside the question whether

13. it was one or several or a bunch of different

id ones Defined broadly in that sense, da

15. you accept the concept of common ancestry oF common
16 decent?

\7 A. Ethink itis highly speculative for

18 anybody to make an assertion along those lines based

19 on our knowledge, okay? This 1s looking at

3

hustorically -- let me put it this way The

ny

empirical science of nutntion can't figure out if

w
nu

butter or margarine 1s better for us, yet at the
23 same ume we make definitive staicments that lfe
24 arosc from primitive ancestral organisms on this

25 planet

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00075
! It goes back lo the question that I have

2 covered before, what is the capacity to change for

3 any organism? That's an unknown at this pownt. How
4 did these first organisms appear? You know, what is
5 the mechanism whereby natural law can produce a

6 replicating organism? I mean, that again 1s an

7 unknown quantity.

8 ‘We know that the smallest free-living

9 organisms on this planet, the micro plasma, have on
10 the order of 300 to 350 genes, okay? So you've got
11 to have at least that amount of information before

12 you can replicate life that we know it at present.

13. That's a lot of information required.

id Now. is just natural phenomena sufficient

15 to produce that? I'm unwilling to say. From my

16 professional experience, no. Whether you have 10
17 organisms, a hundred organisms, primordiat organisms
18 appeanng dc novo, or one, | mean, you know, tt ts
19 an event that is on the range of the miraculous,

20 regardless of whether you sttll believe 11 is by

21 natural process or a designer. okay’?

22 So am | making myself clear?

3 Q_ Fm not sure. 1 sounds like you are

24. saying - at least tt's your personal opinion, based

25 on the scientific understanding that you have, is

Scott Minnich 5/26/05

00076
1 that you would not accept the proposition of common

2. ancestry or conumon decent as | have broadly defined
3 i?

4 A. Okay, look at -- | am trying to think. {

5 want lo quote a couple of things from my report

6 directly so at's in the record From Carl Woese.

7 who ts a icading --

8 MR. WHITE. Just for me to clarify, are

9 you talking Exhibit 1? You are quoung from page
10. six: correct?

ul THE WITNESS. Ycs, al the top of the

12 page

3 So this ts in the peer-reviewed

14 fiterature, this is a prominent evolutionary

15. biologist, and fooking at what you arc talking about
1G in terms of the ongin of Isfe

7 He says, “The creation of the enormous

18 amount of and degree of novelty needed to bring

19. forth modem cells is by no means a matter of waving
20 the usual wand of vanation and selection What was
21 there, what proteins were there to vary in the

22 beginmng? Did ail proteins evolve from onc

23 aboriginal protein to begin with? Ifyou

24 extrapolate that all organisms evolved from one

25. singie organism to begin with? Hardly likely!

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Df 27

 

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00081
t Q. Are there people within the intelligent

2. design community who would disagree with that

3 conclusion?

4 A. Not that I'm aware of.

5 Q. What aspects of biology do you think

6 natural selection can explain it?

7 A. Oh I mean, that's the routine tool that

& we use in the laboratory in terms of genetics and

9 putting sclective pressure on organisms and looking
10 for modifications.

It Q Do you think that natural selection can
12 explain micro evolution?

13 A. For sure, no problem.

14 Q. How would you — or how do you

15. distinguish between aspects of biology that natural
16 selection can explain and those that it can't?

7 A. Again, it comes back to the question of

18 what are the limits of change of an organism.

9 Q Do you have an opinion whether natural
20 selection and random mutation can produce new genes
21 with new functions?

22 A. They can take existing information that

23 can be modified to produce similar, and over time,
24 some different properties. in other words, you can

25 expose an organism to a man made compound that has

Scott Minnich 5/26/05 Page 81

60082
1 carbon and nitrogen that has a potential use for

2 energy, okay, and cycling into other components of
3 the cell
4 Ik may be recalcitrant, you know, so it
5 it has never appeared on earth before. There are
6 organisms that aren't specifically capable of
7 breaking down and utilizing that compound, but over
8 time, if you put stress on the organism, you can
9 develop, modify enzymatic pathways that will evolve
10 and use and break open, say, a chlorinated biphenyl,
11 or something like that. So [ have no problem with
12 that
3 Q How would you define science?
14 A. Science is the discipline of accurnulating
15 knowledge of the natural world.
16 Q. Are you familiar with the National
17 Academy of Science's definition of scientific
48 theory?
19 A Yes.
20 Q Would you know it off the top of your
21 head?
22 A. I could paraphrase it. It would be a
23. statement or a set of statements that explain a set
24 of facts or phenomena through, you know,

25. experimentation or observation.

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00083
1 Q. That seems pretty clase to what | have

2 down here, but { will just read you back what I have
2 here, which I believe is the actual definition. It
4 isa quote.

5 “A well substantiated explanation of some
6 aspect of the natural world that can incorporate
7 facts, laws, inferences, and tested hypotheses."

8 A. Sure.

9 Q. Doyou accept that as a valid definition
10 ofa valid scientific theory?

WW A Yes, Ido.

12 Q. And under that definition does

13 intelligent design qualify as a scientific theory?
14 A Yes.

15 Q. Fm going to read you 8 definition from &
16 Ken Miller's Biology Book of Science.

17 “First, science deals only with the

18 natural world; second, scientists collect and

19 organize information in a careful, orderty way,
20 looking for paterns and connections between events,
21 third, scientists propose explanations that can be
22. tested by examining evidence.”

23 Would you agree with that definition?
24 A. Sure, it's right out of his biology

25 textbook. And in fact, you know, 1 was asked to

Scott Minnich $/26/05

00084
1 review a biology curriculum for a private Christian

2. school and they had a - I don't know where their
3 curriculum was from, but it was creationist. 1

4 said, "Use Ken Miller's book, augment it with Pandas
5 and People if you want a counter-argument. But!
6 have no problem.

7 Ifyou read further in that paragraph he

& says, “Theory are subject to change as new

9 information is gathered and compared to the model of
10 any theoretical explanation."

IL That's a history of science, is

12. revolutions in thought. You accumulate more

13. information or you look at it in light of new

14 circumstances and you go back and you modify
15 theories to be consistent with observed fact or

16 experiments.

7 Q. Can you tell me what the difference is

18 between a hypothesis and a scientific theory?

19 A. Well, they can be used interchangeably,
20 and they are all the time from a working

21 perspective,

22 (have a student that will come in and

23 say, "Hey, I have a theory that this gene is

24 participating in knocking out this function in a
25 white blood cell.” Fine. You know, that’s really a

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bf 27

 

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QuoRs
| hypothesis
2 A hypothesis is an idea that predicts

3. certain outcomes that are testable experimentally,
+ all right? Then once you carry out the experiment
5 or a scl of experiments, 1s it consistent with your

6 original hypothests? So it can be something as

7 simple as an idea or a conjecture. First. as a

8 theory, which is more formally, you know -- and

9 according to the National Academy 1s based on well
10 documented experimental evidence that has been
11 accumulated over time and subject to experimental
12 verification

3 Q. And then i 1s your opinion that

14 intelligent design is a scientific theory: is that

1S correct?

16 AL es

   

25 Mo ne public evidence, okay, in

Scott Minnich 5/26/05 Page 85

OO0R6
1 terms of the natural record, can you cxplain

2 based on infercnee to an intelligent designer? It
2 1s a new theory and it 1s going to be modified over
4 ume, and this is the way science works

5 Let me give you an example Until the

a

1930s the consensus viewpoint in scicnce was that we

~

had a static universe, okay? And then Einstein

0

comes up with his equations and relativity and is

9 bothered by the fact that when you run these

10 equations through, it looks like the universe had o

11 point in time and history where it began

i2 Now, this was contrary to the accepted

13 consensus view of all scientists at the time period

14. and he didn't like the implications, from my

15. understanding of historical science, because of the

1G metaphysics

17 Then you have independent observations of
18 Hubbell and other astrophysicists that show you have
19 red shifls, you have got galaxies that appear to be

20. moving away, and you have a real monumental change
21 in our understanding of the universe in terms of

22 what was accepted theorctically And then as new

23 data came in, it look time, it took argument. it

24 took reformulating how we could do experiments to

25. address this inference based on a minimal sct of

Scott Minnich 5/26/05 Page 86

00087
1 data, But it changed our view of the universe,
2 okay?
3 And in the same way [ think we are at the

4. stages where we are looking at the natural record

5 and saying, based on inference. weil substantiated
6 records from paleontology. from molecular biology.
7 from biochemistry, from genctics, that there is a

8 limitation to our current theory of natural

9 scicction, that we infer intelligence. And that's

1D going to contribute to biological systems

HH It will have an impact. Just because

12. Einstein had a metaphysical problem with the

13. predictions of his equations, and he even modified
14 those cquations to remove the fact that the universe
15 had a posnt in time beginning in history, | think
16 impeded thought, okay?

17 And this 1s a question that I have in

18 terms of our present state of biology Intelligent
19 design has been characterized as a relignous
20 position, a non-scientific position, because it goes
21 against the current consensus.

22 Now, | think as a scientist there arc
23 legitimate claims, legitimate questions, legitimate
24 criticisms that we are bringing out on the table

25 and have to be addressed by our current

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00088
1 understanding of nco-Danwinism We are being

2. marginalized as a non-scientific approach just as

3 people had problems with Einstein's predictions or
4 Hubbell’s predictions because of the metaphysical

5 implestions of how we viewed the universe and our
6 position in it,

7 People object to my position because of

8 the same — for the same reasons. Nonetheless, the
9 data will drive us in that direction, the science

10 will drive us in that direction We may be wrong,
11 okay? We are going to have to stand the test of

12 enticism and the dialogue and, you know, we may be
13. wrong, that's a possibility. But I think our model
14 is consistent with the public evidence.

15 Another critical aspect to this debate 1s

1G that if the other side is wrong in part, and I'm not
17 saying that they are wrong in total, bul 1n part, ww
18 there are positions that nco-Darwinism draws or

19 inferences that it draws that arc incorrect, that

20 could have an impeding cffect on the advancement of
21 science. just like Einsictn's reluctance to accept

22 that there was a potnt tame start in the universe

23 That opened up entre new vislas in terms
24 of looking at the universe if it proposed at that

25 point unforeseen cxperrments that could be done to

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00089
I verify it

2 Yo asc 30u gelling my pont”

 

Yt Q. You say «t's sn its infancy, how do you

 

{2 what 1s the basis for saying 1 has risen above

13. all of the hypotheses and up to the level of a

14. scientific theory?

15 A. Because we are looking al the natural

16 world and we are secing information storage systems.
17 coded systems that in any other context we would

18 ascribe an intelligence behind it. You look at the

2

genctic code -- 1 mentioned Bull Gates is envious of

Q

the ability, you know, the mechanism whereby that

we

information 1s stored. It's the most efficient

Ww
N

storage system in the universe {thas wuce

ny
o

characters by which information is extracted from

24 1 It's not unlike an alphabet, it’s not unlike a

we
Oo

musical scale, it's not unlike mathematical symbols.

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00090
1 okay” it's a wue code

2 Our expenence tells us whenever we find

3 acode there isa coder In the same context, we

4 jook at subcellular machines, a new view of our

5 understanding of the cell that 1s within the last 40

6 years We didn't know about the bacterial flagellum
7 and how sophisucated it was, we didn't know about
8 DNA replication and their profound efficiency and
9 editing functions.

10 We have to look at this new data and say

11 is natural selection up to the task to produce this

12 level of complexity and specification?

13 Put it this way. on the Genome To Life

14. web site thal was produced by the Department of
15 Energy several years ago. they make the statement in
16 the introduction that is to be read by the public

17 that, “The molecular machines we find in the

18 simplest of organisms produced by evolution dwart
19. the engineering feats of the twentieth century "

20 Natural laws, undirected, unintelligent,

21 un-tn-purpose, un-forward looking can produce

22 machines morc sophisticated than the entire

23 community of intelligent design engincers.

24 (Of the record.)

25 MR WHITE: He was going to finish his

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00091
1 answer from before.
2 MR LUCHENITSER. I'm comfortable with

4 the answer, | don't need anything more on that.

4 THE WITNESS The last bit of the

$ sentence. So U'il continue with the statement, "The

6 molecular machines in cven the simplest of organisms
7 produced by evolution dwarf the sophistication and

8 subtlety of machines produced by man, essentially.

9 I mean, that’s a paraphrase.

10 BY MR. LUCHENITSER:

u Q. Does the science only consider natural

12 causes?

13 A. Notnecessanly, okay? You always look

14 for natural explanations first. 1 mean, that is

15 consistent. But { mean, there arc scicnecs that

16 look for signs of intelligence. whether is the

17 SETI project. if you are a forensic scienust, if

18 you are an archcologist. you know? You arc looking
19 at natural products and asking ts there an

20 intelligence involved in what you arc secing

   
   

Scott Minnich 5/26/05

ll Q. Do you disagree with the current
12. definition of science that docs not -- that’s 100
13 many negatives.

4 U think you agree that the current

1

a

definition of science docs not consider supernatural
1G causes Do you disagree that that should be the

17 correct definition?

18 A. It's a qualificd disagreement, especially

19 inthis debate [fthe science ts pointing you to

20 an intelligent cause, then you have to go where the
21 data leads. {you are lsmiting your

22 imerpretation, your interpretations, of what you

23 will accept as interpretations, it has consequences.
24 And I'm the first person to say we look

25 for natural causcs, natural cxplanations first, all

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00093
| mght? But I'm not opposed to looking at the data

2. any more than a forensic pathologist is and saying.
3 you know, is it a natural death or was this a

4 designed death, 1s this a murder?

3 Is natural law sulficient to desenbe

6 life forms on this planct or not? it's a valid

7 question If tas insufficient, then that implics

8 that there may be an intelligence behind it, or ina
9 definitional term. a supcmaturat cause But I'm
10 not saying supernatural in the way that you would

11 imply superstition or a specific god, ct cetera. It

12. as just above the natural explanation.

 

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OOO

     

wo em OD Ww & w&

S

ts Q. But there vou arc talking about fooking
16 for extraterrestnal life, so at still scems that

17 you are looking at natural actors as opposed to the
18 supernatural actor. Now with respect to intelligent
19. design theory, docsn't —

20 A intelligent design theory docsn't rule

21 out the fact that those natural actors may have a
22. super intelligence that participated in development
23 off life on this planet. okay? And we don’t know
24 that they exist So it 18 supematural to our

23 expenence. We don't know that there are alicns out

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00095
1 there We don't rule them oul, we don’t know they

2 haven't visited this planet. So that is, by

3 definition. supernatural, and there arc a lot of

4 screnusts that agree

5 Francis Cnck looked at the common

6 evidence in biology and said I:f¢ could not anse on
7 this planct de novo, it was sceded by some

8 cxuaterrestrial source, in formulating his theory

9 of Pan Spermia, all right? Nobel laureate, looking
10 at the evidence, saying that there is some

11 supernatural event in terms of our understanding of
12. natural events on this planct, that solar winds blew
13 in some primitive organism or someone visited this
14 planct and seeded life. [ mean, that's preity far

15 out, but tt is one of the hypotheses.

16 Q. Let me draw your attention to the top of
17 page 10 of your report, all the way to the top. You
18 say, "The real problem may not be determining the
19 best explanation of the origin of the flagellum.

20 Rather it may be amending the methodological

21 strictures that prevent consideration of the most

22. natural and rational conclusion.”
23 Can you telf me what you meant by
24 amending the methodological strictures?

25 A. Inother words, it ts hmiting our

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90096
1 interpretation of natural phenomena It has

2 consequences. If you arc only going to accept the
3. laws of physics and chemustry, time and chance. as
4 anexplanation of Infe on this planet, how it arose,
5 how it diversified, that could have — that could be
6 a methodological stricture that has consequences in
7 terms of the progress of science.

8 Going back to Einstein's experience, he

9 came up with a radical new interpretation of the

10 universe that had philosophical, religious,

LL metaphysical implications, Whatever you want to
12 call it, he didn’t like it, afl right? And he

13 essentially fudged his equations to chiminate that
14 interpretation that impeded science.

15 All I'm saying is that I think in

16 biological systems we infer, in a consensus

17 viewpoint, that natural cause and effect ts

18 sufficient to explain what we sec. and | disagree
19 with that. It has the same types of unplicauions
20) that were faced by the big bang theory. and that’s a
21 leguimane area of exploration scientifically

22 Q. On page one you say, kind of in the

23 middic of the fast full paragraph on the page. you

24 refer 10 neo-Darsinism as the gencraily accepted

dai B

 

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.

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0005
1 THE DEPOSITION OF SCOTT MINNICH, Ph.D.

2. was taken on behalf of the Plaintiffs on this, the

3. 26th day of May 2005. at University of Idaho, Life

4 Sciences Building, Room 144. Moscow. Idaho, before
5 M&M Coun keporting Service. Inc., by Neil Cootey.
6 Coun Reponer and Notary Public within and for the

7 State of idaho. to be used 1n an action pending in

8 the United States Distnet Coun for the Middie

9 District of Pennsylvania. said cause being Civil

10 Action No 4:04-CV-2688 in said court

VW THEREUPON. the following proceedings were

12. adduced. to wit

 

\7 EXAMINATION

18 QUESTIONS BY MR LUCHENITSER
19 © Dr Mianich, couid vou please stale your

20 name for the record”

2) A Scout Anhur Minnich
22 Q. And have you had your deposition taken
23 before’

24 A Never

35 Q Tm ust going to give you some standard

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00006
] instrucuions Please snswer ail ive guesions

ne

oral, Picasc don'l noo vous head or say uh-huh of

ws

huh-uh. because then the coun reporter won't be

5

able to take down vour answer accuratel®

If vou do nol hear 9 quesuon oF don't

6 understand @ quesuion, picase telime Picase watt

unui | have finished asking my question before you
% begin vour answer And Hf vou realize inet af

& earher answer vou gave was INACCUTBLE OF

10 incampuetc, picase sev that you would hke

i] correct & lormer answer and iwali give an

12. opponunity to dO Sc

i3 And if vour anomey Obsects (oO ONE of m:
14 questions. vou are suii required to answer We

TS quesiion uniess your atiomey insimucts vou now Le
1® answer

7 And do vou unaersiand the InsiTucHons i
| nave grven vou’

1 A lac

20 Q And do vou understand that vou unger oath
21 and are reourred to tell une wu

it jae

 

G is 1 correct that vou are Serving Bs ati
74 expert for tne Gefenaants in Uus casc”

x a Yes

Scott Mannich 5/26/05

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Page 6

00008
1

Cour

0007
1 Q. Let me pull out your expert report, end

2 we are going lo mark that Bs Exhibit |.

3 (Deposition Exhibit No. | marked for

4 identificsuon.)

§ BY MR. LUCHENITSER:

6 Q. We have marked as Exhibit | the expert
7 report of Scott Minnich. And if you could flip to
8 Exhibit A to Exhibit |. which is the biographical
9 sketch in the back, please. does that Exhibit A
10 correctly reflect your educational and employment
11 history?

12 A does.

13 Q. Andis everything in there sui] correct
14 or current or has something changed since you
15 submiued it?

16 A No, itis still current.

 

22 MR. LUCHENITSER: Back on the record.
23 BY MR. LUCHENITSER:

 

Scott Minnich 5/26/05

 

 

2 “@. And can you tell ne what the principal
3 opinions you have in this casc are?

4K Tha imicligemt design te 8 viable

5. scientific theory.

—_—_—

6 Q. Anything else?

 

7 A Na, i mean in terms of my expertise in

& this gue you now, His whether ORO
9 Jnilligem design le compesing theary in part to
10. the current consensus in biology

Vt When vou say imoliigent design isa

12 viable aemific ineory. can vou expiain what you
13. mean by viabie”?

146A. In other words. itis looking at the

15 pubhe evidence and inlerpreuing that evigence in

oe

16 the sense that the design we sec tn NALUTe If real

17 Tesign nol just apparent Gesign. which most Of my
18 colicagues hold the lanier view.

9 Q. Ub-huh. so when you use the word viable,
20 do you mean it 1s real?

21 ‘A. Its real, it’s real. okay? Its

22 science, 1 1s not a religious position, It has

23 metaphysical implications. like evolution does. but
24 that is incidental. secondary to its explanatory

———_—_— oo
25 power when we iook at the facts and expenences that
a

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iter Designation

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Fage &

 
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00009
} we see in the natural world

2 Q. What are the metaphysical implicauions
7 that intelligent design has?

4 A. That there is design behind it. that

§ there ts an intelligence in pan responsible for

& what we sec.

7 Q. And let me ask vou. why do you use the
8 word metaphysical”

g A. Well, it is philosophical metaphysical
10 | mean, 1 that reaim it doesn't require @ religious
li posttion, vou know? It can be more of — 8 person
12. can hold the view of intelisgent design as being
13 reai and believe in the God of Espinoza or Einstein:
14 the God of the phiiosophers. not of 8 wadivonel
18 God that we think of in the context of cradiuons!
16 religsons

\7 Q Does your report identify all the subject
18 matter thal vou are going lo testify about al tial’
Ig MR. WHITE: | have to obyect because I
20 couldn't hear vou

21 BY MR. LUCHENITSER

22 Q. I'm sorry, does your expert report

23. identify all the subject mater that you wil!

24 vestify about at ial?

————_—
25 A. That's an absolute statement. and being &
rn

Scott Minnich $/26/05 Page 9

O10
1 scocnust | aiways hesitate, But this us — tr

2 ierms of my own research and irasning. it 1s
3 reflected in this report.
—
4 Q Do you mtend to express any opinions In

© this case thal have not been included in your

i

6 report?

—_——

7 A. if 1 am asked 8 question thai 16 not

i

& directly applicable to this repon, 1 may choose tc
i
¥ respond or not if | have knowledge in the area. No,

i
10 this isn't 8 complete tome of ali the knowledge that

tt have

 

1 © Do vou ave any pians 10 supplement your
13 repon in anv way 7
a A No. not at presen:
ys { Do vou consider yourself an expen on Bn}
io issues relevant to this case”
————
iF A As they bring to bear on examples that
oD
1% are being disputed by both camps. you know, the ares
19 of iveducible complexity of the bacterial
I
20 fiegelium. moiccuiar machines, penelics
2) microbioiogy
2 C What is ~ do vou have an area of
3 specialty within the discipline of biology”
i 4 1660. ama micrabuil penencist focusce

25 onan area we rier to as microbial pathogenesis

Scott Minnich $/26/05 Page Jt

00011
1 organisms that cause diseasc.

2 Q. Has that area been the focus of your

3 professional research?

4 A Yes.

1s MR. WHITE: Object as far as what ome

6 frame you are talking about for his professional

7 research.

8 THE WITNESS: Yes, currently. | have had
§ other experiences. too. | have been in diagnostics,
10 | have been in developmental biology. and ~ Tm

11 trying to think in terms of just how you quoted

12 this, basic molecular biology, molecular genetics
13 As an example, the controversy about

14 geneticaliy engineered foods and BT toxins. | don't
15 know whether you are familiar with this at all,

16 bacillus thuringiensis toxin. This has been

17 incorporated into agricultural piants and has been
18 controversial because of the ethical concems about
19 invoducing or modifying plant genomes

20 But that bacillus toxin gene 1 cloned as

23 a posi-doc, and we pave II to Monsanto 2() vears ago
22 So occasionally | am called to -- in

23 fact, four or five years ago | had my research

24 notebooks subpoenaed because of a patent lawsuit
25 involved in who owned the rights to that. ‘That was

Scott Minnich 5/26/03

0082
1 'berween Monsanto and some other company tn terms of

2. who had the right to that genc

3 Q. Would you consider yourself an expen in

4 evolutionary biology?

& A. That's 2 difficult question and | want ic

6 qualify it, because | was chalienged here at the

7 University of Idaho several years ago when Rober
8 Pennock came and gave a seminar, And he knew my
9 position and he chalienged me in the audience with
10 respect to, “How can vou. as 2 practicing

1) contribuung screnusi. hold the postuon that is

12 conwary to the very foundauon ‘of your discipiinc””
13 Okay? This is in front of all of my colieagues and
14 students in a formal departmental sermnar

rs And | responded tha:. “That's an

16 interesung question. and now that you have raised
17 it, I'm suse a jot of peopic arc interested in my

18 response ”

1g What ] find interesting in my Owr

20) expenence, and inst of colteagues tn this

21 department - and we are the mos! highly funded and
22 1 think the most successful in genuine extramura!

23 funding. publication in peer-reviewed journals. we
24 have severai new {scully so | don't want 1o make an

25 absolute statement. but, vou know, Inc past CoUpIE

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Fage 12
Se

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00033
} intelligent design that are different from the

2, definition you gave in your report”

3 A. [think my wmitten statement 15

4 consistem with my colleagues in terms of — you

5 know, [ think there are philosophers of science in
@ the intelligence design arcna that are more

7 articulate in terms of the philosophical

8 implicauons of this

9 Q. How would vou define creationism’?

10 A. Creationism. which | think is very

11 different than intelligent design. uscs biblical

12 reierence by which you judge science. In the

13 traditional sense, scienufic creationism held 10 &
14 Ineral interpretation of Genesis and thought that
JTopat war ah embodiment of tuth and tat scrence
16 shouid be fiitered through that viewpomt

17 T disagree with that stand. In fact, |

1 was yover an botive parueipent in serenuic

15 “Gantonlam as W went through ine Louisiane and
20 Arkansas debates, | thought it was oul of baiance
gy 7 Ts there & ciblerence benween creauan—
22. science and creationism?

23 A. Well, m terms of definitions, yes. |

24 high wie geblle. Creavonsm, again | think 1

ee
25 the traditional sense as it is used 1n the public

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90034
1 arena, imphes & lttcral interpretanon of Genesis

2 Scientific creationssm then mes tC jook at the
oo

3. body of scienufic understanding and fit it

4 "Gonawiontly with that viewpoint OF PADIS!

5 interpretapon

6 Q Te teaching of creationism or creauon

7 science ~ 1s the leaching of that. that forms of

% life began abruptiv - begin abruptly in their basic

G types. for exampic. fish with fins ano scales. birds

1U. with featners and beaks and wings”

i A That's — repeat the quesuon because |

12. want to make sure | unocrsiand it

<creationism.ot cresuon Science '~

 
   
  

Jife bepan-obrupttyib then

1k A That 1s my understanding, yes.

16 © What is the difference betweer.
a

20 intelligent Gesign theory ana creation science’

————

ii A imeligent design theory isn't oepencent
i

22 upon any formal religious writing OF revelation in

22 which vou are trying 10 match the naturai world tc

24 show consistency. It 1s simply looking Bt inc

I
25 science and asking the question’ is the acsign tna:

a

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00035 ‘
' we all agree is there real or apparent? Okay? lt
i

2 is a valid question and | think we should be

— tenor
3 addressing it at a amentific ievel in our

 

4 inquires.

see that simple, okay? 11 doesn't have

6 any basis of going further than looking or devising
7 theories or hypotheses to look at how you detect

8 design, Our record of life on this planet. does it
IW iewsin enms of physics and chemsuy, of whal we
1) know of genetics, sufficient 10 produce the

12. diversity that we see in life?

43 And you end right there, yes oF No. Mt

14 isan jmaresting quesoon. itis @ valid question,

1 indy should be addressed, mean, and that’s why
16 we are here, you know? ‘That's what Ken Milles is
17 writing about. Robert Pennock. he is asking the
18 question, can natural law come up with de novo
19 information?

20 Q. Docs intelligent design theory reach any
2) conclusions that are different from the conclusions
22 reached by creation science?

23 MR. WHITE: Objection as to vagueness,
24 ambiguity.

28 BY MR. LUCHENITSER:

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00036
1 You can go ahead and answer
2 MR WHITE: Ifyou understand the
3) question.
4 THE WITNESS: Repeat tt one more ume, oF

5 tet me ask e question to make sure | understand it.
6 Does creauon science and intelligent

7 design both come to the same conciusion, is that

& what you are asking?

9 BY MR. LUCHENITSER:

10 Q. Let jus ask the question. docs

11 imtetligent design theory reach any conclusions that
1% sre different from the conclusions reached by

13 creation science?

—_—_—

14 A. Oh. for sure.

15 Q. What are the differences? What different

16 conclusions does — what conclusions does

17 Tmcliigent design Wneory reach mal are —

1k A. Well, creation science, | think, is

19 really an aren of apolopetics. religious

20 apoiogetics. They want the science to validate the

21 scnprurai content of Genesis. okay? And

22 intelligent design isn't going lo gO that far. You

25 can bey het = Jooking ai Dre Gaia, what WE KHOW In
rT

24 terms of chemistry and physics, genetics and neural

28 selecuon. that inere 18 2 reai design. and you stop
a

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00037
1 there.

—

2 Q. Can you tell me what theisuc evolution

3 is’

4 A. Theisnc evoiution 15 the position. as 1

5 understand it, that there 1s & designer or creator

© that designed the universe, started the clock going,
7 designed the laws of physics and chermstry, and that
® life, through those laws. emerged and has evolved

9 But it is more of an impersonal activity. in other

10 words, the machine was started and is removed from
}1 that machine, so that organisms do evolve in terms
12. of our common consensus

13 Q. Can someone who believes in theis0c

14 evoluuon also beleve that God in some way gusaes
15 the progress of evolution”

16 A. Sure, | mean | think you have the enure

17 spectrum of peopie that believe in a designer oF

1% creator in terms of his parucipauon in the worid

19 as we know nt

20 Q. What is the difference berween thessuic

21 evoiuuon and intelligent design theory?

22 A. Theistic evoiuuiontsts. I think, agree

23 that geven. for mstance, the planet earth in is

24 early stages of development had incorporated 10 Wt

25 all the necessary components for the emergence of

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10038
1 life and ns subsequent diversity. that there Is NG

2 inpur from the designer from that port. okay?

3 So i 1s really consistent with the

Danviman wewpornt that you Just staned it by ar

=

inteliigemt agent or God and then everything

unfolds

7 Inielingent design sees 8 More acuve

pan of a designer from the sense that from my own

*

G perspective | look a1 the bacterial fiageilum. 1

10 has stators and roiors and propellers and u-joints.
11 11g batiery powered. It looks like engines that

12 Mazda makes. 1n one sense, bul UIs much more

13 sophisucated because there ts en algontnm oF

14 program that directs ns assembly from penetic

$$ informauion and It repuiates the timing of synthesis
16 and the position where st 18 assembled. that thal 1s
17 e product of intelingence

1k And from my position vou don’t get these
16 machines by totally natural process | mean. uney

20 can change and evaive. | Gon'l know at what levei oF
2) to what extent. but tne prototypic or abonginal

25 machie has alt the nalimarks of design based On ou
30 expenence of machines thal we manufacture

ze CG Other than the ulnmate cigim that &

2£ gesigner or Gesigners were responsible for the

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00039
1 development of life forms on the planet earth. does

2 intelligent design make any other scientific claims?
' 3 | MR. WHITE: Objection, it is misieading.

4 THE WITNESS: J'm not quite sure what you

5. mean in terms of other scientific claims. Give me

6 anexampie. You know, is it going to reli me that

7 putter is beter for me than margarine? | mean ~

8 BY MR. LUCHENITSER:

9 Q. I guess let me sry to see if | can

10 rephrase it.

M What 1s the scientific content of an

12 intelligent designer, other than the uluumate

13. assertion that there is a designer Or designers?

14 A. That's the main principle. okay’

1s Q. is there anything else?

16 A. | would have to think about it sm terms

17 of the question, So if we proceed. 1 will come back

18 to that

19 Q. Do vou have an opinion. 8 personal

20 opinion. as to who or what the iniclligent designer

21 is?

2 MR. WHITE: Objection as to are you

23 asking for his personal opinion oF his opinion as &

24 scientist?

25 BY MR. LUCHENITSER

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00040
Q. Do you have a scientific Opinion BS tO

2. who the intelligent designer is?
————— oo
3 A. No.
—_——
4 Q Do you have # personal opinion?
—
§ A. Yes. Ido

————
6 Q. You do. What ss your personal opinion?
—

7 MR. WHITE: Objection as to relevancy.
ee

8 Go ahead.

$ THE WITNESS: | want to make sure thai

10 this ig 27 mean Thave b problem in terms of
12. these questions, is that they are somewhat ioadec
13. in other words. in my discussion with Robert Fennoch
14 when he was here and we were discussing type Il
15 secretory systems and the flagelium. ciaims of
16 intelligent design. he then turned on me in this
47 public audience and said. "Who ts the creator?”
18 ‘And | said, “Well. I have an opinion. bui
19 we are uiking solenoe, why do you want 10 BIg
20 religion into the question?”
2) No, "Who is the creator? Teli us who the
22. creator is?”

—_——
23 "And in part | think there 15 an attempt
24 10 marginalize peopic in unis eee ar

SE
25 fundamentalists. vou know. Chrisnans that want tc
a

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00041
1 get the bible back mio the classroom, and that's

oT
2 invalid. But 1 am & Christian. that's my personal
ae
3 faith
—
4 And | aiso would like to state for the
§ record that that 15 NOt My family's faith tradinon
6 1 was an agnostic, probably an atheist. and when |
A
7 took # course in biology and was confronted with the
i
8 design in the bacteriophage Landa, 1 made me pause
i
9 and think, is this the product of chance and
ee
10 necessity”
—_—
1 Okay. so | am a Chnsuan because of the
_— -
12 data, not despite It.
——$———
13 Q. So this expenence led vou to became &
_———
14 Chrisuan?
——
15 MR. WHITE: Objection as of “this
a
16 experience ”
———
17 BY MR. LUCHENITSER
18 Q. The experience when you were studying
i
19 this life form”
——
20 A. No, | think 11 was @ factor. you know, in
oT
21 my own personal joumcy. but J had no reason to —
I
22 at the point until | started taking biology ciasses
ne
23 — in faci. | was an English history mayor that took
nr
24 a general chemistry course that had a molecuiar

a
25 biology component and was SO fascinated by the

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00042
1 informauon thet changed my major, because 1 was

2 interested in the science the beauty of the

3 science. and the more f studied, it hac

4 implicauons

i Q. This 1s when you were an ‘under graquatc.
6 did you say"

———————
7 A) Right.

 

8g Q. Sos it.corect that your personal

§ opinion is that the umellipent designer. isthe God
10 -of Christianity?

i A Ves:

12 Q Is there 2 consensus wilhin inedingent

13 design theory as to who the designer ts OF what i

14 15"
—_—_
1s A No
———
16 Q. Does mntciligent oesign incor make any

17 cisims ag to who or what the designer 15°
rte

th A No. ine formal sense Wt doesn't. ii

i
19 says vou can infer design and thereiare oesigne!
a
21 ©. Does imtelingent design theory nie oui
22 any type of possible designers*

Q Not necessarily

24 @ Does intelingent cesign tneore Tule OU.

25 ail possibie and natural actors Bs designers"

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00043 '
1 A. Natural what? 1 didn’t hear your ~
2 Q. Natural actors.
3 A. Natural actors?
4 Q. Yes.
5 MR. WHITE: Objection, vague. ambiguous.

6 What do you mean by natural actors?

7 BY MR. LUCHENITSER:

8 Q. Under intelligent design theory, is it

9 possible that space aliens could be the designers?
10 MR. WHITE: | didn’t hear what you said,
11 under what?

12 BY MR LUCHENITSER:

3 Q. Under intelligent design theory, is it

14 possible that space aliens could be the designers?
15 A. Sure.

16 Q. Is it possible that ume waveling humans
17 could be designers?

18 A. I don't know. i mean. that's

19 speculation. | don't know. 1 mean, that’s asking
20 me to speculate on ume travel. which is @

21 hypotheucal situation, and so I don't think it is
22 reaily pertinent to my conuibuuion or expermsc,
3 Q. Has any work been done within intelligent
24 design theory relating to the issue of who the

25 designer is’?

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00044 .
1 A. Not to my knowledge.

2 Q. Does intelligent design theory hold that

wa

there is oniy one designer or is tl ~ can ube

a

consistent with intelligent design theory that there

w

might be multiple designers?

6 A. No, ] mean ~ agein, you can just infer

~

design from the public evidence and. you know — 1
& mean. we have multipie engineers that work in

9 consonie to produce machines today, who 1s to say
10. it is not tue tn the biological world? [don't

it know

12 Q. And under intelligent design theory, 15

13 it possible that the designers are ~ that there

14 might be multiple compeung designers?

15 A. Idon't know, | don't know whal you mean
16 by in terms of compeung designers

W7 Q._ As opposed to designers who are working
1% together with each other, designers who are TYINg
19 10 come up with life forms that end up compeune oF
26 opposing each other?

21 MR WHITE: Objecuon. calis for

22. speculauon

23 BY MR. LUCHENITSER

24 ©. is that possible under vour theory?

25 A. Yes. | mean. that's speculative. and |

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O006$
| relanonship. but there arc differences between 20

2 to 30 percent novel DNA in all these mayor groups of
2 bactena. The question anses. where does that

4 novelty come in

5 Q. So does intelligent design tneory conlain

6 amy conclusions oF asseruons otner than that

7 neo-Darwimian theory doesn't adequately expiain the
& development of life on earth and that an intelligent
9 designer 1s responsible for the deveionment of the
16 life on earth”

i A. Yes. | mean that's the basic principle.

12 15 thal — you know, My professional opinion.

13. natural selection, time. laws of chemistry anc

14 physics are inadequate to expiain life as we KNOW
1$ at. Hehas all the hallmarks of design

16 You look at the gencuc code, itis the

17 most sophisuicated information storage sysicrm in the
{8 universe as dipwal readout Iicis ouly an

19 arbitrary code. then there ts no reason why wipicis
20 for each amino acid have that specific designauon.
2) vel recent compuler anaiysis shows that 11 15 tne

22 optimum code of all povential theoretical codes thal
23 would be formed by random chance to negate the
24 effect of pownt mutations which | find astounding

25 Of the milions of combinauons af

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90070
1 mpleis. vou Know. for the entire 20 amino acids

ta

that at as coaing for. we find. by empincal

anaiysis. that the geneuc code ts optimized 10

B

minimize the effects of base changes 1n that coat

s Now, that causes me 10 pause and wonder

li causes my colicagues to pause and wonder how It
+ nature so lucky on random chance? You know. that
& this frozen accident, Francis Crick refers to 1 as

9 the penenc code, 15 mind bogging So -

16 © Ub-huh Let me just go back, though

Ww Do you have & scientific Opimon on

12. whether anything above compiex moiecuiar systems
13. were aesigned? By that j mean. a0 vou nave &

14 screntific opinion as to whether any compicx animal
14 species were designed as opposed to yust the

1 microscopic complex biological systems"

17 A No. no. Again. Hl goes back to Uns

Ye quesuon of where 1s Wie nesigner intervening 1%

19 tus process? And. you KNOW. | don'i know. | mear.
20 tats speculation

©) Is there any kind of consensus i tne

 

> inicliigent design on inet assuc”’
25 & You have peaple from tne enure specrun.
22 trom thessuc evolutionists ali the wav up IC

si-uay creationists it as a pretty OrOBC len ir,

 

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00071
1} terms of people that ascribe to intelligent design.
. one * .

2 Q: How.oldida-you' iverae:

 

  
  
   

ann

22 earth is lessthan 10,000 years old?
B MR. WHITE: Objection. speculation, back
24 of relevancy.

25 THE WITNESS: Oli Ton au there areyou"?

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00072...

1.know?-

2 BY MR. LUCHENITSER
3 Q. Again, I'll give another hypothencal
4 Wguadenws ine Dower School Distnet were taught
5 that the carth's history can compress Into B
6 framework of several thousand years, would they be
a Tad soon seenificenowleage?
qT AD Ti inconsistent with the present bod
g imepreain oy?
10 Q. Whatis your belief on about how long ago
I]. life farsi appeared on earth?
137A. Well, from the fossil record vou have
19 fossil bacteria wel appear oF 3.8 bilivon yeas.
14 somewhere around that ume period.
18 Qo and what Is your opinion on how long ago
16 the fursyimultcellula? animals on earth appeared”
7 im hors palconiblogist, haowt now
la what the ume Hume is, but we 8 signiticans
19 ponod Shienwards from the first eppearance of
20 prokaryotes
Z1 Ol De you have any opimon OF knowledge a:
22 to how long Bp the first land welling ariTaaie
23 appeased on earth?
24 A Again. that's changed. from my

—_———
25 expenence. over ume. SO 1 don't — | don't fix e

ee

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00073
1 specific ume penod. Again, t's not my area of
a

2 expernse.
—_———
3 Q. Do you know what the consensus is in the
rt
4 field of paleontology on that?
———$———
3 A. Lhave read it, but | don't recall @
—
6 specific number, but i don't have any problem with
7 it
8 Q. Would 450 milhon vears ago sound right?
are
9 A Sure
—_—
10 Q. You don't have any reason to disagree
a
11 with that consensus?
——
12 A. No
_
13 MR. WHITE: I'll object to this bine of
14 questioning He said this 15 ali outside of his
15 area of experusc
16 BY MR. LUCHENITSER
\7 Q.- Does:intelligent design theory accept the

18 general consensus‘among paiconiologists as-to:the:.. \

eeomepiriscantips tite samme cee
19 time line of the development of major kinds of life

 

  

25 iter design camp thet wouldn't Bay that 50

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00074
t-thev are looking at-8 younp earth viewpoint. -And
2 there-are other-people that scezpt an old-earth

3 -scenario, the sequential appearance of organisms in

4 the geologic record.”

Q | think before we talked a lite bu

about the concept of 8 common ancestry oF COMMON

decem. and iet me Uy to define common ancestry OF

”

oecent as nol necessarily that life descended from

e

one cell that appeared unree oF four biliion years

16 ago, put that all fife today developed from one or &

11 few ancroorganismas that existed several billion

12 vears wpe So let's put pside the question whether

13. was one or severat oF B bunch of different

14 one: Defined broadly in that sense. co

1$ vou accept the concep! of cnmmon ancestry oF common
Ih decent”

I? A 1 think itis highty specuiattve jor

{8 anvbody to make an asscrion along those iuncs DBScC
1S on our knowledge. okay’? This 1s iookinp 8:

20 husinncally -- let me put it this way The

21 empincai science of nutnuon can't figure out if

22 pune: or marganme ts Peter for us. vel at the

 

same ume we Make definitive siatements that hife
24 arose from prinutive ancestral organisms on this

planes

BR

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00075
1 It goes back to the question tht { have

2 covered befare, what is the caphcity to change for

3 any organism? That's an unknown a1 this point. How
4. did these first organisms appear? You know, what is
§ the mechanism whereby nocural law can produce 8

6 replicating organism? | mean, that again is an

7 unknown quantity.

8 We know that the smallest free-living

9 organisms on this planet, the micro plasms, have on
10. the order of 300 to 350 genes. okay? So you've got
11 to have at Jeast that amount of informauon before

12. you can replicate life that we know it at present

13 That's 2 lot of informanon required.

14 Now, is just natural phenomena sufficient

15 to produce that? {'m unwilling to say. From my

16 professional experience, 10. Whether you have 10
17 organisms. 8 hundred organisms, primordial organisms
18% appearing de novo. or onc. } mean, you know, it is
19. an event that is on the range of the mirsculous,

20 regardiess of whether you still believe it is by

21 natural process or a designer. okay?

22 So am i making myself clear?

23 Q. I'm not sure. it sounds like you are

24 saying — at least it's your personal opinion. based

25 on the scientific understanding that you have, is

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00076
] that you would nol sccept the proposition of common

72. ancesuy or common Gecent as | have broadly defined
3 it?

4 A. Okay, look ai — Lam cying to think. 1

5 want to quot a couple of things from my report

6 directly so it's in the record. From Carl Woesc.

7 who is 5 leading —

8 MR. WHITE: Just for me to clarify, are

9 you twlking Exhibit 17 You are quoting from page

10. six: correct?

YQ THE WITNESS: Yes. at the top of the
12 page.
13 So this a5 in the peer-reviewed

14 literswre. this is 8 prominent evoluuonary

15 biologist. and locking at whal vou arc talking sbout
16 in terms of the ongin of life

17 He says. “The creauon of the enormous

18 amount of and degree of novelty needed to bring

19 forth modem celis is by no means 6 matter of waving
20. the usual wand of variation and selection. What was
2) there, whal proweins were there to vary in the

22 beginning? Did ali protcins evolve from onc

23 aboriginsi protein to oegin with? Lf you

24 exvepolate that ali organisms evolved from onc

25 singie organism to begin with? Hardly likely!

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oh

 

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00081
1 Q. Are there people within the intelhgent

2 design community who would disagree with that

3. conciusion’

4 A. Not that I'm eware of

§ Q. What aspects of biciogy do you think

6 natural seiccuon can expiain it?

7 A. Oh, i mean, that's the routine tool that

® we use in the laboratory in terms of genetics and

9 puting selective pressure on Organisms and looking
10 for modificanons

Nl Q. Do vou think that natural selection can

}2 expiain micro evolution?

\3 A. For suse. no probiem

14 Q. How would you — oF how do you

15 distinguish berween aspects of biology that nature!
16 selection can expiain and those that can't?

7 A. Again, 1 comes pack to the question of
1 what are the limits of change of an organism

19 Q. Do vou have an opinion whether natura!
20 seiection and random mutauion can produce new genes
21 with new functions?

22 A They can take exisune information that
23 can be modified to proauce similar, and over ume
24 some different properues ln other words. you can

25 expose an organism 10 2 man made compound Ua! has

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00k?
1 carbon and nitrogen that has @ potenual use for

energy. okay, and evcling into otner components of

the cell

ws

4 Homav be recalcitrant, you know, $0 it

it has never appeared on earth before. There arc

+ organisms thal aren't snecifically capabie of
breaking down and willing that compound, but over
ume. 1f vou put suess on the organism, you Car

& devetop. modify enzymauc pathways that will evaive
10 and use and break open. say. & chlorinated biphenyl

11 or someting like thai. So | have ne problem with

12 tna

{3 Q How would vou define science?

is A Science as the discipiine of accumusauing
1S knowiedge of the natural world

1G CQ Ase vou famiiaar with the Neuonal

Acacemw of Science's dchninen of scientific

a

1K teary’

wy A Ves

26 CG: Would vou know 1 off the wp of your
21 nead’

2D A i couia paraphrase it It would be &

  

siatement or a set of Statements Uiat explain a se!
24 of facis or phenomena through. vou Know

25 expermeniauon oF apscrvalion

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00083
1 Q. That seems pretty clase 10 what | have

2. down here, but | will just read you back what | have
\ 3 here, which } believe is the actual definition. 11

4 is a quoic.

5 ” A well substantiated explanation of some

6 aspect of the natural world that can incorporate

7 facts, laws. inferences, and tested hypotheses.”

8 A Sure.

9 Q. Do you sccept that as 2 valid defininon

10 ofevalidsuenthcney?

VW A. Yes, Ido

12 "Q. And under that definition does

13 intelligent design qualify as 8 scientific theory?

waive

——

15 Q. I'm boing to read you a definition from 4

16 Ken Miller's Biology Book of Science.

\7 "Firs, science deals only with the

1 naturel worlds sevond, seienusis collect and

\9 organize Informuauon in @ carchui, oraerly way,

20” Yooking for pattems and connechons berween event:

2) third, scientists propose explanavions that can be

22 tested by examining evidence.”

23 Would you agree with that definition?

24 A. Sure, it’s right out of his biology

ee
25 textbook. And in fact, you know, | was asked lo
ES

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00084
1 review p biology cumicuium for a private Chrisuan

i
2 school and they had 8 — T don't know where their

> curriculum was from, but 1! was crenuoniat. 1

4 seid, “Use Ken Miller's book. eugment 1 with Pandas
TG Pepe you ware counerargument, Burl
6 beve no probiem.

77 TT you read further in that paragraph he

8 says. Tfheon bre subjeni ve change as new

9 information 1s gathered and compared to the model of
10. any theoretical explanauon. .

IT Thats story of science, is

12 revolutions in thought. You scoumuiate More

13 informauon or you look at it 1n light of new

14 circumstances and you go back and you modify

15 theories to be consistent with observed fact or

16 expennments

7 Q. Can vou tell me what the difference 1s

18 between a hypothesis and & scientific theory?

19 A. Well. they can be used imerchangeably,

20 and they are al! the ume from a working

21. perspective

22 J have a student that will come in and

23 say. "Hey. | have a theory that this gene is

24 panicipaung in knocking out this function i &

25 winte biood cell” Fine, You know. that's really &

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0008S
1 hypothesis.

2 A hypothesis is an idea that predicts

3. cemain outcomes that are testable experimentally.

4 ali right? Then once you carry out the expenment

5 or a sei of expermments, 1s consistent with your

6 onginal hypothesis? So vi can be something as

7 simple as an idea or a conjecture: First, asa

@ theory, which is more formatty, you know -- and

9 according to the National Acaderny 's based on weil

10 documented experimental evidence that has been

11 accumulated over ume and subrect to expenmental

12. verificauon.

\3 Q. And then it as your opinion that

14 inelligent design 1s & scientific theory: 18 thai

15 correct’

16 A Yes

7 Q. And with reference tothe Natonal

18 Academy of Science's definition. can vou explain how 1
19 intelligent design satisfies that definition? Mavbe
20 we'should go by the ora nents of the definition
2 The first-component is 8 well

22 substantiated explanation, Canyou explain how

23 jntelligent design theory can be considered a well

24 substantiated explanation?

2s A Looking at the public evidence. okay, in

oo

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‘

NURS
1 terms of the neural record. can you expiain it

nn
2 based on inierence 10 af intelligent designes? it
SS oo
5 16 8 new theory and it is pome (0 be modified over
Oe
4 me. and this is the way science works.
a
s Let me give you an example Until the
ae
6 1930s the consensus viewnoint in science was that We
7 had a static universe. okay’) And then Einsicin
& comes up with his equations ano relativity and ts
9 pothered by the fact that when you nn tnese
eT
10 equations through. it looks like the universe had &
11 pom +n nme and history where it began
12 Now. this was coniary to the accepted
ae
13 consensus view of ail screnusis at the ume period
14 and he didn't like the implicanons. from my
15 understanding of histoncai science. because of the
i
16 metaphysics
ie Then you have ingependent opservalions of
I
18 Hubbell and other asrrophysicists that show vou have
on
1¢ red shifts. you have got galaxies that appear 10 be
20 moving away. and you have & Teai monusnentai change
21 wow understanding of the universe in terms of
22 wha was accepted theoreucaliy. And then as new
22 datz cure m, 1t look Lume, 11 (WOK argument
a
24 ook reformuiaung how we could do expenments IC

2% address thts inierence based on @ munimai set of

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00087 1
1 dala, But it changed our view of the universe,

2 oksy? ‘

ee

3 ‘And in the same way | think we are at the
4 stages where we are looking at the natural record

5 and saying, based on inference. well substantiated
6 records from paicontology, from molecular biology.
7 from biochemistry, from genetics, that there isa

8 limitation to our current theory of natural

9 selection: that we inder intelligence. And that's

ul ied nove on impoct Just because

12 Einstein had 8 metaphysical problem with the

13 predictions of his equations. and he even modified
14 those equations to remove the fact that the universe
[Eg Ton ane beginning in stony, Pn
16 impeded thought, okay?

17 ‘And this is @ question that I have in

48 terms of our present state of biology. intelligent
19 design has been characterized as a tcligious

2 posldon, a honacientiie position, because Ht goes
21 against the current consensus.

aa Now, I think as a scientist there are

23 legitimate claims, legitimate questions. jegitimate
24 criticisms that we are bringing out on the able

RS
25 and have to be addressed by our current
nt

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O08:
1 understanding of neo-Darwinism ‘We are being

2 marginalized as 8 non-scientific approach just as
3 people had problems with Einstein's predictions or
4 Hubbell's predictions because of the metaphysical
‘ 5 implications of how we ‘viewed the universe and our
6 position in it
7 People object to my position because of
f the same Tor the same reasons.” Nonetheless, the
9 data will drive us in that direction. the science
10 will drive us in that direction. We may be wrong,
uh Suan? Weare going wo have to sand the est oF
12 criticism and the dialogue and, you know, we may be
13 wrong, that’s a possibility. But | think our mode!
14 Weonsisten! with the public evidenet,——
15 Another critical aspect to this debate is
16 that if the other side is wrong in part, and I'm not
17 saying that they are wrong In total, but in pan. if
18 there are positions that neo- Darwinism draws of
19 inferences that it drews that arc mcorrect. hal
20 couid have an impeding effect on the advancement of
22 That there was & point line Sian 18 The universe

23

TT
Thal opened up enure new visias In ms.
—

24 of icoking at the universe if ix proposed at that

— oo
25 point unforeseen expenments thai could be done 10
te

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D008

1 verify it,

—_—_—_——

2 So are you geting my point? You-are

3 asking me, is intelligent -design based on the

4 Nationa) Academy of Science's definition-of a
3. theory based-on.a well substantiated explanation.
6 We are aan infancy.at this point. nis

what

7 controversial, it is heretical based on the common

 

“But that's the history of science.

9 Whenever-you haves new interpretation itis gOmng

 

10 to be fought in the public arene.

li Q. You say it's in is infancy. now do you

$2. — what is the basis for saving 1 has nsen above

13. all of the hypotheses and up to the ievel ofa

14 scientific theary”

1$ A. Because we are iooking at the natural

16 world and we are sceime informauon siorage system:
17 coded systems thal In any other context we would
1& ascnbe an sniciligence behind x. You look at the
14 genetic code ~ | memuoned Bill Gates 1s envious of
20 the ability. vov know, the mechanism whereby thai
21 snformanon is stored. Its the most efficient

22 storage svsiem im the universe. it has ruc

23 characters by which information is exwacted from
24 uv Ws not unlike an alphabet, it’s not unlike &

25 musical scaic, it's not unlike mathernaucal symbols

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80090

| okay” k's a ruc code

Qu: expencnee telis us whenever we find

a code there 16 8 coder In the samc context we

te

6 jonk at snbceliviar machines, a new View ‘af our

unoerstanding of the cell thar is within the iast 40

6 vears We didn't know about the bacienal fiagclium

and how sopnisucated 10 was. we didn't know Bbou!

=

DNA reprication and thes profound efficiency and

©

editing fyncuons

Hi We have to 100k at this new dB1a and Sas

1) as natural sciechon up to the task to produce thts

12 jevel of complexity anc specificanion?

\2 Put nt this way, on ihc Genome To Life

}4 web sie thal Wes produced by the Department of
JS Energy several vears ago thev make the stalement ih
1G tae mrrocuction that is to OC read by the public

17 that. “The moiecuiar machines we find in the

ih simpiest of organisms proauced Dy evolution Gwar?
1% the enpincenne icats of the twenneln century .

a Natural laws undirected. uniniellagent

2] un-n-purpose un-Jorwasd looking can produce

22 machines more soptusticaled UAn the entre

 

commumy of mtelligent Gesipn engineers
Be iOff Une recor

af MR WHITE Ke was going to finish his

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00091
1 answer from before.

2 MR. LUCHENITSER: I'm comfortable with
3 the answer, } don't need anything more on that

4 THE WITNESS: The last bit of the

5 sentence. So I'll continue with the statement. "The

6 moiccular machines in even the simplest of organisms
7 produced by evolution dwarf the sophistication and

® subtiery of machines produced by man. essendally.

9 1 mean. that's a paraphrase.

10 BY MR. LUCHENITSER:

 

ll Q. Does the science only consider natural
rn
12 causes?
13 A. Not necessarily, okay? You siways look
———$——————

14 for natural explanations first. 1 mean. that is

15 consistent. But 1 mean. there are sciences that

16 look (or signs of intelligence. whether it is the

17 SETI project. if you are a forensic scientist, if

18 you are an archeologist, you know? You are looking
19 al natural products and asking Is there an

NT
20 intelligence involved in what you arc sccing.
——— TS

2) Q. Does science ever consider supematural:
22. causes?
23 A. Underour current-definitionof acience, :

24- nevural: methodological science-excludes

25 supemaural,:but that hasn't been the case

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00092
1 historically.
2 Q. a the idea thal science doesn't consider -

3 supernatural causes 85 methodological naturalism-an

4 -acourate term for that concept?

tA

 

A. ° Right.:if-you.are only going fo — if you-

fra i

 

are-poing-1o define science 8s only accept

o

natural cause and event 10 explain the phenomenon
See cree eneiee M eer Be ~

you are:studying, fine, if that's your definition-of

o

c

science. “It:may not be.the reality of the ruthof

© the situation

ul Q. Do you disagree with the current

we

definition of scicnce that does not -- that's 100

mo

many negatives

14 I think you agree that the cusrent

15. definition of science does not consider supematurat
16 causes, Do vou disagree that that should be the
17 correct definition?

16 A. It's a qualified disagreement especially
}9 in this debare If the science 1s pomnung you lc

20 an imieliigent cause. then you have to go where the
21 date teads. 1f you are liming your

22 interprewauan, your inlerpretsuons, or what you
23 wili accept as interpreauons, tt has consequences
24 And J'm the first person 10 sav we iook

2S jor navurai causes. naturai expianavons first. all

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00093 00095 '

| right? But I'm not opposed to iooking at the daz

2 anv more than a jorensic pathoiogrst 1s and saying.

3 vou know, 1s 11.2 natural death or was ahs a

4 designed death. is tus @ murder?

5 is natural law sufficient to describe

6 life forms on this planet or not? It's a valid

7 question. If ais insufficient. then thal implies

& thal there may be an intetligence behind il. or in &

9 definmonal term. a supernatural cause But I'm

30 not saying supernatural in the way that you would

11 smpiy superstivon oF a specific god. ef cetera. Mt

12. 1s just above the natural expianauon

13 Q Would you agree with the proposivon that

14 imorder for intelligent design.theary to be ,

15 considered-valid science, science has:to go beyond

16 the-concept of methodological naturalism?

7 A It would have tobe modified. But agai.

18 this.is an artificial definiaon, im-my mind. If t
19 you-are only:going.to accept naturai-expisnauons,
20 then thar's.ali you-are.going to sec. because by:
2) definition you aren't even going to. allow any other
22 explanation mto the conversanon.

23 Q. {So in order for intelligent design theory
24 to.be valid science, does the definiton of science.

24 have 10’be broad:enough-so:that science can consider

 

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| there. We don’t rule them out, we don't know they
2. haven't visited this planet. So that is, by

3 definition. supematural, and there are 8 lot of

4 scienusts thal agrec.

5 Francis Crick looked ai the common

6 evidence in biology and said life could not arise on

7 this planet de novo, it was seeded by some

a

§ extraterrestrial source, in formuiating his theary

9 of Pan Spermia, all right? Nobel laureate. jooking
10 at the evidence, saying that there is some

11. supernatural event in terms of our understanding of
12 nerural events on this planet. that solar winds blew
13 im some primitive organism or someone visited cus
14 plaerand sosded Wie Tiwean, have preny iar
15” out, but it is one of the hypotheses

16 Q. Let me draw your attention to the wp of
17 page 10 of your repon. all the way to the top, You
18 say, "The real problem may not be determining the
19 best explanation of the origin of the fiagellum.

20 Rather it may be amending the methodological

21. strictures that prevent consideration of the most

22 natural and rational conclusion.”

3B Can you tell me what you meant by
24 amending the methodological strictures?

25 A. In other words, it is imiung our

 

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OO094 00096

} supernatural causes?- 1 imerprewstion of natural phenomena. It has

2 A Right | mean, isn't that what is gong 2 consequences. If you are only going to accept the

3 onan NASA-when you hove all these radio telescopes 3. laws of physics and chemistry. ume and chance, as

4 pointed out universe and askang the pattem 4 an explanation of life on this planet. how It arose,

ee Late cial eet ceeiee

5. of pulsar-magnetic yadiation: different types of 5 how it diversified, that could have — that could be

4 radiation-coming at.us?. 1s it ali just snotural,.0F 6 a methodological stncture that has consequences in
7 as there samebody out Uiere that has.antelligence 7 verms of the progress of science

& tharis Dying lo communicate with wb? 8 Going back 10 Einstein's expenence, he

& J mean, that 15 going beyond: thatas 9 came up with a radical new interprewauon of the

10 looking et the natural date anc saying, “Js there af 10 universe that had philosophical, religrous,

1} imellsgence behind it?” That is Jegiumate. You 11 metaphysical implications Whatever you want 10
12 are jooking for patterns, you are looking for 12 call it, he didn’t like wt all right? And he

13. specificety, and it 15 being used now as part of our 13 essentially fudged his equations to ejiminate that

\d scientific methodology. 14 interpretauon that impeded science

1s © but there vou are talking spoul iooking 18 All I'm saying 4s that } think in

16 for extraterrestrial life. sot still seems that 16 biological systems we infer, in B conscnsus

i7 vou are looking Bt Natural actors as opposed to the 17 viewpoint, that natural cause and eflect Is

18 supernatural actor Now wits respect (0 inteliagen: 18 sufficient to expiam what we sec. and I disogrec

14 aesign ineory. doesn't - 19 with that. |t has the same types of rmpiicauons
2u A imeligent aesign Weory aoesn't mic 20 that were faced by the big bang theory. and that's 8
2) out the fact that those natursi actors may have & 21 legitimate area of expiorauion scientifically
<2 suner imeiigence tat paricinated sn deveropment 22 Q__ On page one vou say. kind of in the
4% of hfe on this manel. okay? And we don't know 3 middie of the iast full paragraph on the page. you
2a inal mney EXISi SO If 1S SUDCMatural 10 OUT 24 refer to neo-Darwinism as the generally accepted
25 expenence We gon'l Know Unat Incre are aliens Ov 24 mechanism. So you would agree that evolution Is &

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00097
1 generally accepted theory in the scientific

2. community?

 

3 A Sure.
4 Q. Would you agree thar intelligent design

5 theory is not generally accepted by the scientific

6 community? ~

7 Q Oh Lagree, | agree.’ Like | said, st is

& a minonty opuvon, in some people's minds it is

9 heretical. okay? But again. you can jook at the
ener

10 history of science and That's how we progress. by

| Tchaolenging We Siatus quo Bnd ROTaINE T Up TO, You

\Tyeoa an explansiony fiker that has goto Be

17 conmion wah the inlormauon as we see i

la nah Wis lepiomate debate. There

15 why rar hen 1 respon Ken Miller and he 1s

1G Tparving s purpose ih Une debais, vou wnow? FRE as

17 + and i am all for 1 ] enjoy ine imtcracuon

18 that we have had in & limited sense

Ig Thats how science works, vou have arcas

20 of conznuan hot can be small they ean Be laTEe

22 Sromess, by vecping cach other hones

23 Q. In your report. again Sve quoted — and

24 this 1s before the beginning of the last paragraph

28 on page one, vou stale that, “Intelligent design

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00098
1 aneory holds that the deep compiexily and ciearly

we

evident design 16 OfgaMIsMs 1S the result of an

uw

smieliigent agent”

4 Do vou consider that to be & testable

proposiuon”

6 A lias as testable as evolutionary theory

7 Again. 1 we are jooking et — you know, 115 an

& histoncal science m one aspect We are going back
& and looking af the records. we Bre looxing 81 Our

10. present Knowiedge and secing if thas consistent

}] wath tne model thal we currently have. This 15 a5

12 mucn testable as evolulion

12 Let me give vou an example One of the

14 ewdences for neo- Darwinism 1s moiccuiar and

{8 structural homaingy, okay? You jook at the skeictor
16 im my hand, you iook at the skeleton of 2 bat wing
17 von loox et ine skeleton of 8 whale fin. there 15

i& simianty Same bones. different size strucnart

i i nave 2 problem in the sensc. though.

20 that wis 8 gelf-referenual argumemi. | beireve

21 mn common decent and therefore organisms should have
27 nomorogies and pecause 1 find nomoiogies. 1

23 tneretore proves Common gecen:

a it avesn'l ric out common Gesign. 17 my

2+ pnd Common design 1s on ine tabic and vou woulc

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00099
1 make the same predictions.

2 Q. Do those various kinds of exampies you

3 just gave, do these homologist strucuures — do they
4 have idenucal genetic codes?

$ A. Some of them do, some of them don't. And
6 that's another interesting point that Simon Conway
7 Morris brings up in his paper that is included in

8 mune. Hf you believe in common decent, you would
9 think that organisms that have the same body plan
10 would develop through the same geneuc program.
lM So there are, 10 my understanding,

12 invenebrates. such aS se Stars. that go through

13 intermediate iarval stages that are vastly

14 different. In fact. they weren' even recognized as
15. similiar organisms when they are looked at at the
16 tarvai sige, yel they end up with the same body
17 plan

WH Mormis says 11 looks like evolution IS

19 somchow channeled. and that ts @ problem with an
20 evolunonary scientist in terms of geneves and the
21 phenotype. And if it is channeled. then teleology,
22. purpose. is back on the table.

2 That's the prominent — one of the most

24 prominent evoluiionary biologists stating and ciung

25 an ntelligent design by Denton saying that this is

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00100
1 a jegitimete expianauon

2 Q. Now. let’s go to the ~ | guess there are

3. bird wings and bat wings as kind of an cxampie in 6
4 homologous sense What was the example vou were
$. just using a second ago?

6 A. interms of human skeletal stucture for

7 a hand and 8 bat wing and @ whale fin. | mean. they
8 nave gol similas spuctures. and therefore you infer
that they are related by Gecent because of

10 homologies a1 the structural ievel

1} Q. Does a scienufic theory have to be

12 testable?

13 A. Again, in terms of evoluuon. and Ernst

14 Meyer's definition. “Laws and expernments arc

18 inappropnate for the explicauon of events and

16 processes when we are desling with evolution. “

17 We are looking at histoncal records

18 There are certain aspect that can be vestabic, but

19 again. there is a lor of inferences and

20 extrapolauons thal are involved in our current

2) thinking.

22 Q  Isit generally accepted in the

23 scientific community that for something to be @

24 scientific theory i1 has to be testable?

2 A. Whas to be consistent with a body of

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00229
| was manning a haven of graduats students in

2 intelligent desigr. which blew me away

3 J nave never been on the payroll of the

4 Discovery insurutc. and how an individual can come

5S on this campus and accuse me OF foment this

6 conspiratorial perspective. | mean it just — you

7 know, he 1s an expen wimess. and boy, if he

§ performs with that same amount of imegricy in his

9 generai work, | have & problem with tL

16 Q. Can you tell me what you do m your 1
11 capacity as 8 feliow for the Discovery insutute

12 Center for Science and Culture?

13 A. Thave no job descnption. | have never
[4 been given any assigned tasks. Occasionally i am
15 called up and they say. “Will vou review this? Or.
16 “Do you want 10 what do you think abou! this?”
17 More as @ consultant

18 But iis prety minimal, you know? Lam
19 good fnends with Steve Meyer, But in tcrms ofe
20 defined job descnpuon OF what 1 means 10 be 2
2) fellow. no

22 QO And are you familar with a document

23 called The Wedee Document?

24 A [have never read lam familar with

25 it. What | have have read about it is, you know,

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O02
| what ouner people have said about 1

z MR LUCHENTITSER: | will ask you lo mark

3 us

4 (Denosivon Exhibit No 12 marked for

iwentification.)

BY MR. LUCHENITSER

7 CG We have marked as Exhibit 12 8 document

called The Wedge Center for the kenewal of Science

on

g and Cuiturc, Discovers Insutute. And | am going tc

U ask vou to firp to — okey. this savs page Two UP

1] nere. n might be page four of the aocument?

12 A Its pot this table?

13 QQ Yes. there 3s @ Lable wath unree columns
14 anc —

If MR WHITE: [also obrect on the grounds
16 of founaationai identifications Professor Minnict-
17 said he has never scen this thing and doesn't know
jb adom ii

1g BY MR LUCHENITSER

x CG Where it says "Goals, governing goals.”
240 sm ube first cour. and the secona goal listed 1s
22 "To reniace matenalisuc expianaiions with ic

22 tnersne unoerstanding of nature and human bene:
Qa arc created by Got.” do vou aprec wath that goal o°

28 ‘The Weage aocument”

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00231 '
J MR. WHITE: Objection. this is — you are

2 asking about Discovery instieate's alleged document
3 here.

4 MR. LUCHENITSER: } just want to inow if
5 Dr. Minnich agrees with that goal.

6 THE WITNESS: Which one are you asking
7 about?

& BY MR. LUCHENITSER:

9 Q. The second goal listed in the first

40 column.

Ml A. "To replace materialisuc explanauons

12. with the theistic understanding that nature and

13 human beings arc created by God." That's not part
14 of my agenda, you know?

15 Q. Do you think that's 8 worthwhile goal to

16 pursuc?
7 MR. WHITE: Obyecuon.
18 THE WITNESS: That's 8 joaded question.

19 Tum it around, and, you know. Richard Dawkins and
20 Dan Dennett have an agenda to, you know, replace
21 religious belief with 3 materialistic viewpoint of

22 the world, is that nol legitimate? } mean, they are

23 driven by their world view and they want to see if

24 adapted. Other people have 8 different position,

25 you know. | don’t think there is anything

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00232
| inherently wrong with this.

2 Q. Is ita goal of yours or ts not

3 reicvant to what you are doing?

4 MR. WHITE: Objection. asked and
5 answered.
6 THE WITNESS: No. } mean, my goal in

9 life is to do science, be a father, pay my bills, be

& 2» contributing citizen. ] ame Christian and with

9 that comes holding Christan tenants and doctrines.
10 There is a commandment in terms of evangelism oF
11 defending your position. but Jam not & missionary
12 BY MR. LUCHENITSER.

13 Q. Now, are you aware that the Discovery

14 Instonte has issued 8 press Telease that 1s

15 critical of the actions taken by the Dover School
16 District that led to this iawsuil?

1? A. Shaven't seen tt

18 Q Okay. I'll give you a copy ofit

19 A Okay.

20 (Deposition Exhibit-No. 13 marked for

21 identification.)

22 BY MR LUCHENITSER

23 Q. ‘Okay,-we have marked as Exhibit.13 4

24 document called: Discovery Calis Dover Evolution

25 Policy Misguided. Calls For hs Withdrawal.

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Page 23:

 
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00233
! ‘And if you:cauld read the first. two:

 

§ MR. WHITE: And | will object to the lack
6 of foundation, no showing of authenucity, and vou
7 are asking him to go ito the head of the Discovery
8 Insutute

9 BY MR. LUCHENITSER

 

16 Discovery Institute-and my own personal opinion.

17 intelligent design is-nat — should not at this

18 point be part of, any. curriculum in-a public school”
19 : Q. So you do agree with that, that 1 should
20 not be a part of the curriculum?

21 MR WHITE. Objection, that's not what
22 this paragraph 1s saying

23 THE WITNESS: That's not what this is
24 saying. | am just saying, yOu know — and they arc

25 nor — the Dover - from my understanding of the
—_—_————

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00234
} Dever School Board. they are not saying that they

rr

2 are going to incorporate intelligent design mtc
re

3 ther curnculum. they are gong 10 Lesch the stale

4 board requirements in terms of Darwinian evolunon.

5 and that’s what they should do

6 | naven't talkea to anybody on the school

> board and } am not aware of the mouvation for the

& poncy thar they have wniten

9 QO Art vou ® member of any other

10) organizanons?

li MR WHITE Time out. Exhibit 14 is

12. witharawn now’

ld MR LUCKENITSER. | didn't have if

14 markec

is MR WHITE I'm sorry

16 BY MR LUCHENITSER

17 G Are you 8 member of anv othe:

{& organizations that are in any way involved with

Y inichigen! design theon”

26 & Yes. | think jam Bill Dembsk has o

21 soceety of — | Gon't Know what ley call it, but

22 they askco me if wanted t0 be B feliow and put my

name on that as & member. and J have, but have

 

74 never — i mean, I've never done anyining or gone ic

26 any mecungs OF panucipaled 1 any GrscUSSIONS

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Page 234

00235
1 Q._ Have you ever read the book: Of Panda

2 and People?

3. ‘A. Thave skimmed i.

4 Q. Do you know which edition you skimmed?
5 A. The 1993 edition. J think that's the

6 iast edition, right?

7 Q. Do you understand that to be the ediuon

8 that hes been made available to students the Dover
9 School District?

16 A. That's my understanding.

i) Q. So you didn't tead the whole thing?

12 A. You know, | skipped through - I have

13. skimmed the whole book. I know what the contents
14 are, basically.

ws Q De you believe the book to be an accurale
16 presentation of the imelligent design theory?

7 A. Yes and no. | mean, again. contextually
18 this was wonen in 1993 and things were just

19 getung off the ground at thet point in ume. Son
20 1s outdated. as any textbook would be that ts a

21 biology textbook because of just the rapidity in
22 which daw ts coliected. But the basic arguments, |
23 think, stand in terms of alternauve views of

24 looking at the basic principles of it.

26 Q. 4s there anything in the book you believe

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1 is incorrect?

2 A. I'm sure any textbook has inaccuracies 1n

w

1, i don't know of any specifics

4 Q. Are you aware of # new textbook under

wn

deveiopment called: The Design of Life?

6 A. | just heard about 1 in the comext of.

~

you know. this lawsuit

& Q Do vou have any role in the developmen:
9 of. The Dessen of Life”

1G A. No

NM (eposition Exhibit No. 14 marked fos
12 -identification.)

13. BY MR. LUCHENITSER

14 Q. We hovermarked as-Exhibit']4 8 document

 

15 entitled: Dover ‘Ares : School Distmiet News, Biology

16 Curriculum upds J want to ask you to Rip to

 

V7 page wo of this: newsletter fiocument an and read ane
18 third paragraph of the first: column: which starts ~

19 withthe words, "in-simple terms on 8 moiccular
20 level scientsts-have discovered.a purposeful

21 arrangement of parts which cannot be explained -by
22 Derwin's theory. in fact,since.the

22 -nineteen-fifties advances in motecular. biology anc

we
5

chemistry have shown-us.that living cells, the

1

fundamental units of life processes, cannot be

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Case 4:04-cv-02688-JEJ

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1 expiained by chance.

 

2 Do you agrée with that ststement?

3 A. in part. You know, I.think this is

4 written for the Jay.public.. You know, | would .

5. qualify.some. of.these.’

6 Q Doyou:thivk the statement-is too strong?
7A. Yes, Fmean.it's — I mean, it has a:

8 flaver of anabsolue and T hesitate -- you know. I

4 wouldn't have written it like that

16 Q. How would you gualify the statement?

i A | wouldn't use words like, "Have

12 discovered 8 purposeful arrangement of paris which
}3. cannot be explained by Darwinian theory.” | wouic
14 say when you have ~ as | have mentioned before. we
[shave discovered macromolecular machines thal SOT
16 us agree are pretty amuzing that we didn't

17" gmiloipaie, and tvs throws e new Tight in verms of

18 Darwinian mechanism to produce them. and they need
19 to be reevaluated — oF our consensus viewpoint

2U needs to be reevaluated

21 Q Do vou think the statement could misicad

22 its readers about what the current state of

n

3 scientific knowledge is”

24 MR WHITE: Obrecuon, calis for

nw

speculanon

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Qa23#
1 THE WITNESS: | mean. that's speculenve

2 Laon’ know now the ay public -- | don’t know WAC
3 this is writien for or whai context ~ | mean. 15 1

4 the newspaper anicle” is this 2 ~

4 BY MR LUCHENITSER

& G Actually, it’s Dover Area School Distnet
+ News, so ug — | beineve i is made avalinble to

& both stuaents and parents in the school distici

% MR WHITE: J will just object to jack of
10 loungation showime authenucity, cspecialiy since
11] Professor Minnich hasn't seen this beiore

tZ THE WITNESS: Right. [ mean. there 1s
13. no, vou know, tiic in terms of journal! oF

14 pubiicauon tat uns 1s present in

18 BY MR LUCHENITSER

it © That's ali nght we can establish that

17 eisewnere at rel

ik But would you. from yous standpoint as an
1% educator ‘would you support the making of this
2) sunement i quoted to high school students”

21 A This one here”

a Q Yes

 

A Not as iis written
26 Deposition Exhibit No. [5 marked tor

28 oenuiicanon +

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00239 ‘
1 BY MR. LUCHENITSER:
'

2. Q. We have marked as Exhibit 15 3 document
3 called: intelligent Design. {t's in an article

4 that was published in Touchstone by Dembski called:
$A Primer on the Discernment of intelligent Design.
6 And if you could flip through the last

7 page of this article and look at the jast paragraph,
8 am just going to read you the paragraph and ask
9 you if you agree or disagree with this

io ii states, “The world is 2 misror

11 representing the divine life. The mechanical

12. philosophy was ever blind to this fact. Intelligent
13. design, on the other hand. readily embraces the

14 sacramental nature of physical reality. Indeed,

15. intelligent design is just the Logos theology of

16 John's Gospel restated in the idiom of information
17 theory.”

18 MR, WHITE: Also object, you are having
19 him take this paragraph out of context of this

20 article, which is about 1} pages iong which he has

21 never seen before.

22 THE WITNESS: Yes, [ haven't read this
23 article.
24 This is Journal of Mere Christianity,

25 this ix Christian publication writen to a defined

Scott Minnich 5/2645

00240
1 audience. "Mechanical philosophy was ever blind to

2 this fact. imelligent design. on the other hand.

uw

readily embraces the sacramental navure of physical

4 reality."

ta

T'm not really sure what thal means,

a

"just the Logos theaiogy.”

7 “The world is a mirror representing the

® divine tifc.”

9 It's a question of semantics, but 1 think

10 this is consistent with Chnstian doctrine. Again

11 going back to Romans, Chapter One, | mean it says
12 that God has reveaied Himself in what has been

13 created. itis clearly evident, his attributes.

14 Traditionally, Chrisuan theology has

wm

jooked at nature as a second set of scriptures. and

o

this 4s really, | think. reforming what that says.

a

thal we can ieam sboul God from the study of

} nawre. This has been a motrvating force even in

S

the devciopment of science as we Practice it today.
20 agreed to by secular histonans and scientists

21 So in one sense 1 don't have a probiem

22 with this. *intelisgent design is past the Logos

23. theology of John’s Gospel.” | assume he 1s refernng
24 to that: in the beginning was the word: in the

25 beginning was information. That's consistent with

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